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lN THE UNITED STATES DISTRlCT COURT "“D‘C-
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUB 12 PH 3, 29
EASTERN DIVISION
_EP:§ U ii iii `;FU‘D
BRENDA GREEN PASCHALL ) W/D § xi §{,KT£$\J'UR
)
Plaintifi", )
)
vs. ) No. 04-1153-T/An
)
JO ANNE B. BARNHART, )
Commissioner of Social Security, )
)
Det`endant. )

 

ORDER GRANTING MOTION FOR AWARD OF ATTORNEY FEES

 

The plaintiff, Brenda Green Paschall, filed this action to obtain judicial review of the
Commissioner’s final decision denying her applications for disability benefits under the
Social Security Act. On April 20, 2005, the Court entered an order reversing the
Commissioner’s decision and awarding benefitsl Plaintiff has now filed a motion for an
award of attorney fees in the amount of $3,662.50, pursuant to the Equal Access to Justice
Act (EAJA), 28 U.S.C. § 2412(d). The Commissioner responded and does not object to the
requested award.

Under the EAJA, the Court shall:

award to a prevailing party . . . fees and other expenses . . . incurred by that

party in any civil action . . . , including proceedings for judicial review of

agency action, brought by or against the United States . . . , unless the Court

finds that the position of the United States was substantially justified or that
special circumstances make an award unjust.

Thfs document entered on the docket she t in compliance
with Pu'e 58 and,‘or_?£-J (a) FRCP on _B._'D§_LOS__

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28 U.S.C. § 2412(d)(l)(A). A social security plaintiffwho obtains a reversal with an award
of benefits clearly is a prevailing party. C_f. Shalala v, Schaefer, 509 U.S. 292, 300-02
(1993) (holdin g that a claimant Who obtains a sentence-four remand is a “prevailing party”
even if benefits were not awarded). Thus, plaintiff is entitled to attorney fees and expenses
if the position of the Commissioner was not substantially justified.

The Commissioner has the burden of proving that her position was substantially
justified under the BAJA. &§ London v. Halter, 203 F. Supp. 2d 367, 373 (E.D. Tenn.
2001). ln this case, by acquiescing in an award of attorney fees, the Commissioner has
conceded that her position was not substantially justified The Court also concludes that
there are no special circumstances that Would make an award unjust. Consequently, plaintiff
is entitled to an award of attorney fees.

Plaintiff’s counsel has submitted an affidavit stating that he expended 29.3 hours on
this case, at the statutory rate of Sl 25 per hour, for a total of $3,662.50 in attorney fees. The
Court finds that the number of hours expended and the statutory hourly rate are reasonable
Theref`ore, plaintiffs motion for an award of attorney fees is GRANTED. Attorney fees in
the amount of $3,662.50 are hereby awarded under the EAJA, to be paid directly to
plaintiffs counsel.

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JAME . TODD
UNIT STATES DISTRICT JUDGE

DATE /)/ @M§W/'}€`US/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-01153 was distributed by fax, mail, or direct printing on
August 15, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

